
690 S.E.2d 700 (2010)
Donnie L. LASSITER, Employee, Plaintiff,
v.
TOWN OF SELMA, Employer,
N.C. League of Municipalities, Carrier, Defendants.
No. 321P09.
Supreme Court of North Carolina.
January 28, 2010.
Dayle A. Flammia, Raleigh, for Town of Selma, et al.
Sarah E. Ellerbe, Selma, for Donnie L. Lassiter.

ORDER
Upon consideration of the petition filed on the 7th of August 2009 by Defendants in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 28th of January 2010."
